                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION


   DAMIAN STINNIE, MELISSA
   ADAMS, and ADRAINNE JOHNSON,
   individually, and on behalf of all others
   similarly situated; WILLIEST BANDY,                    Civ. No: 3:16-cv-00044
   and BRIANNA MORGAN, individually,
   and on behalf of all others similarly
   situated,

              Plaintiffs,

                      v.

   RICHARD D. HOLCOMB, in his official
   capacity as the Commissioner of the
   VIRGINIA DEPARTMENT OF MOTOR
   VEHICLES,

               Defendant.


                     PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF THEIR
                          MOTION FOR CLASS CERTIFICATION

  I.     INTRODUCTION

         Plaintiffs seek to represent two classes of persons whose licenses have been or will be

  suspended automatically when they fail to pay court-related debt. Defendant, Commissioner

  Richard D. Holcomb, carries out this suspension process under Section 46.2-395 of the Code of

  Virginia (1) without notice, (2) without a hearing, and (3) without consideration of these persons’

  inability to pay. Each of these failures constitutes a violation of Plaintiffs’ and the class

  members’ constitutional rights. And every class member has been or will be subjected to the

  Commissioner’s uniform practice.




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         As such, Plaintiffs seek to certify two classes. First, a Suspended Class consists of all

  persons whose driver’s licenses are currently suspended for failure to pay court debt under

  Section 46.2-395. Second, a Future Suspended Class consists of all persons whose driver’s

  licenses will be suspended for failure to pay court debt under Section 46.2-395. All class

  members had or will have their licenses suspended for failure to pay – without notice, without a

  hearing, and without consideration of their inability to pay. Plaintiffs fall squarely within these

  classes. Their individual experiences simply demonstrate the real harm Defendant’s actions

  cause, and establish why the injunctive and declaratory relief sought is necessary. Contrary to

  Defendant’s assertions, the individual effects of Defendant’s unlawful practice on the various

  class members has no bearing on class certification. This is because Plaintiffs seek uniform,

  class-wide declaratory and injunctive relief.

         Plaintiffs seek a declaration that Section 46.2-395 of the Code of Virginia is unlawful and

  violates their and the class members’ rights under the Constitution and laws of the United States.

  Plaintiffs also seek an injunction (1) to enjoin the Commissioner from enforcing Section 46.2-

  395 against Plaintiffs and members of the Future Suspended Class; and (2) to remove any

  suspensions imposed pursuant to Section 46.2-395 from Plaintiffs’ and Suspended Class

  members’ driving records. Am. Compl. 43-44, ECF No. 84. This lawsuit seeking injunctive

  relief for Defendant’s uniform practice of violating class members’ constitutional rights is

  precisely the type of suit for which Rule 23(b)(2) was intended to provide class certification. See

  Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 614, 117 S.Ct. 2231, 138 L.Ed.2d 689 (1997);

  Thorn v. Jefferson–Pilot Life Ins. Co., 445 F.3d 311, 330 (4th Cir. 2006).

         Accordingly, this action should be certified as proposed.




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  II.    ARGUMENT

         A.     Plaintiffs Have Provided Ample Evidence To Show Compliance with Rule 23.

         The Defendant is wrong when he implies that satisfying Rule 23 requires Plaintiffs to

  prove their underlying case. Resp. in Opp’n. to Pls.’ Mot. for Class Cert. 9, ECF No. 128. Rule

  23 determines merely how a case should proceed and whether the class action mechanism is

  appropriate, not how the underlying case itself should ultimately be decided. Lienhart v. Dryvit

  Sys., Inc., 255 F.3d 138, 143 n. 2 (4th Cir. 2001) (merits not relevant to certification decision).

  Contrary to Defendant’s assertion, only “sometimes” is it “necessary for the court to probe

  behind the pleadings before coming to rest on the certification question.” Wal-Mart Stores, Inc.

  v. Dukes, 564 U.S. 338, 351 (quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982))

  (emphasis added). Rather, the Court in Dukes quotes Falcon for the proposition that

  “[s]ometimes the issues are plain enough from the pleadings.” Id.

         Here, the essential facts supporting Plaintiffs’ motion for class certification are (despite

  Defendant’s attempts to gin up factual variations) not in dispute. Plaintiffs challenge

  Defendant’s implementation of a statewide law that violates the Constitution of the United

  States. Under that law, there is no notice telling a driver’s license holder that they have allegedly

  defaulted on payment; no hearing on the propriety of license suspension; and no consideration as

  to the suspendee’s inability to pay.1 Instead, upon default, suspension is mandatory. Whether

  these failures violate the Constitution, as Plaintiffs allege and believe, has yet to be decided, but




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   Although Defendant states that Plaintiffs are incorrect in asserting that drivers receive “no
  notice” of alleged default because Virginia law requires the clerk to provide information that a
  suspension will become effective within 30 days of default, this argument misses the mark.
  “Notice” that a license will be suspended immediately upon default is not the same as due
  process notice of the default itself and of the right to be heard. Resp. in Opp’n. to Pls.’ Mot. for
  Class Cert. 9, ECF No. 128.
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  the nonexistence of these procedures is indisputable, as is their uniform application to all class

  members.

         To muddy the waters, Defendant incorrectly focuses on the Plaintiffs’ and class

  members’ inability to pay and the lack of uniformity in their individual financial circumstances.

  Uniformity in their inability to pay, however, is ultimately not necessary for class certification.

  The real harms that Virginia’s license suspension law has done to the named Plaintiffs and their

  families merely show the real-world effects of the challenged law. But the systemic lack of due

  process violates the rights of every suspendee, regardless of their financial circumstance. The

  essence of this case is not in prejudging who would ultimately be adjudicated as “unable to pay”

  under a system that granted due process, but in challenging whether a Virginia law that disclaims

  all process violates the Constitution and the rights of each and every citizen whose license is

  suspended per its terms.

         B.     All Class Members’ Claims Stem From the Commissioner’s Common
                Practice – Suspending Licenses Without a Pre-Deprivation Notice and a
                Hearing Requiring Inquiry About Inability to Pay – Making Certification
                Under Rule 23(b)(2) Appropriate.

         Defendant’s challenges to the proposed classes rest on one irrelevant contention – that

  not all class members are unable to pay the court fines and costs that resulted in (or will result in)

  their driver’s licenses suspensions. Regardless of whether this assumption is true, it is

  immaterial to the relief sought and the question of whether this case can proceed as a class

  action. All of Plaintiffs’ claims are in essence process claims – seeking to enjoin the current

  system in place for driver’s license suspensions due to a failure to pay court fines and costs

  because it provides no process.

         First, Count I of the complaint sets out that Section 46.2-395 of the Code of Virginia is

  unconstitutional for mandating automatic driver’s license suspension without notice or a hearing.

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  This procedural due process claim rests on the lack of pre-deprivation notice and a hearing that

  applies to everyone who has had a driver’s license suspended under Section 46.2-395.2 Through

  Defendant’s practices, every driver whose license has been suspended under Section 46.2-395

  has had their due process rights violated. Indeed, in the Court’s order granting preliminary

  injunctive relief, the Court noted that “the provision is unconstitutional across the board” because

  the suspension without notice or a hearing “violates the procedural due process rights of every

  driver whose license is suspended under Section 46.2-395.” Order 15 & n.6, ECF No. 126

  (emphasis added); see also id. at 18 (“§ 46.2-395, on its face, provides no procedural hearing at

  all.”). Thus, Plaintiffs seek relief for every driver whose license has been suspended under that

  provision through the removal of such suspensions. In addition, going forward, every driver

  facing potential suspension under Section 46.2-395 should receive adequate notice and a hearing

  prior to the suspension of their license. Because these steps are not currently in place, an

  injunction enjoining Defendant’s automatic suspension of licenses under Section 46.2-395 is

  necessary.

         Second, Counts II-V, which are premised on Bearden v. Georgia, 461 U.S. 660 (1983)

  and related cases, and their concern with the disproportionate punishment of the poor, similarly




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    Though Defendant devotes significant space in his brief to the “individualized” factual
  circumstances of the class members, which he claims vary in (1) notice given, (2) the lag time
  between notice and deprivation, and (3) “the availability of a post-sentencing ability-to-pay
  hearing,” these supposed “variations” in facts are inapposite. The law that Plaintiffs challenge is
  uniformly applicable to the class members. It is also unconstitutional because it does not require
  and guarantee notice, a hearing, and a determination of ability to pay prior to license suspension.
  Instead, it makes license suspension mandatory upon default. The factual “disparities” that
  Defendant highlights do not change this underlying and predominant fact. That some class
  members may have had their financial circumstances assessed in connection with the setting of a
  payment plan (and not as a prerequisite to the suspension of their license); knew that their license
  would be suspended in the event of default; or had more or less lag time between the imposition
  of a fine and the suspension of their license is irrelevant.
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  focus on the failure to have a process in place. Though technically distinct, “due process and

  equal protection principals converge” when a court considers such claims. Bearden, 461 U.S. at

  665. Indeed, the remedy commanded by Bearden and similar cases is to grant a pre-deprivation

  process to everyone facing suspension with the goal of determining whether the particular

  individual has the ability to pay. Id. at 672-73 (holding that declining to “inquire into the reasons

  for the failure to pay” is “contrary to the fundamental fairness required by the Fourteenth

  Amendment.”); see also Alexander v. Johnson, 742 F.2d 117, 124 (4th Cir. 1984) (in order to

  avoid an equal protection violation, the state “must take cognizance of the individual’s resources,

  the other demands on his own and family’s finances, and the hardships he or his family will

  endure if repayment is required.”). Thus, the relief sought – an injunction prohibiting the

  suspension of licenses under Section 46.2-395 where an individual’s ability to pay has not been

  assessed prior to deprivation – applies to every class member.

         In sum, it is the absence of procedures to apprise every class member of the suspension,

  to conduct a hearing, and to determine the class member’s ability to pay the assessed fines and

  costs that forms the basis of the constitutional violations. The requested relief simply seeks to

  prevent Defendant from continuing this practice.

         Focusing on the classes, the Suspended Class seeks an injunction ordering the removal of

  license suspensions undertaken pursuant to Section 46.2-395, and enjoining the Commissioner

  from charging a fee to reinstate licenses that are otherwise eligible (after such suspension

  removals) for reinstatement. Each and every member of the Suspended Class is entitled to this

  relief as their licenses were suspended without notice, without a hearing, and without

  consideration of their ability to pay. Thus, the Defendant would have to remove suspensions for

  failure to pay from everyone’s license (whether or not such failure resulted from their inability to


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  pay), because all of those people were denied the process owed prior to suspension.3

          The Future Suspended Class seeks to enjoin Defendant from enforcing Section 46.2-395

  until the Commonwealth implements a system that complies with the United States Constitution

  (by providing pre-deprivation notice and an ability-to-pay hearing). Again, this procedural

  requirement will apply to every member in the Future Suspended Class and protect them from

  future suspensions.

          The pivotal question in certifying a (b)(2) class is whether the requested relief applies to

  the class as a whole. See Dukes, 564 U.S. at 360 (citing Rule 23(b)(2)). Here, it does, as both

  classes seek a declaration that Section 46.2-395 is unconstitutional and the Commissioner’s

  policies, practices, acts, and/or omissions are unlawful and violate the class members’

  constitutional rights.

          C.     Defendant’s Cohesion Defense Fails Because Plaintiffs Seek Rule 23(b)(2)
                 Certification Without Monetary Relief.

          Defendant’s contention that the classes are not “cohesive”, claiming (generically and

  without citation to specific evidence) that members have “disparate factual circumstances that

  would require individualized determinations”, misses the mark. Resp. in Opp’n. to Pls.’ Mot. for

  Class Cert. 19, ECF No. 128. The Fourth Circuit has expressly stated that “Rule 23(b)(2)’s




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    What is critical to all of Plaintiffs’ claims is that Defendant suspends all licenses without due
  process notice, without a hearing, and without an inquiry into an individual’s ability to pay court
  debt. Removal of such suspensions is necessary to correct Defendant’s constitutional violations.
  Requiring a constitutionally adequate process prevents future violations and avoids any
  “windfall” Defendant claims. Once such suspensions are removed, Defendant can institute a
  constitutionally sufficient process to filter drivers unwilling to pay from those unable to pay, and
  take appropriate action (including suspension) against the “unwilling” drivers. Critically, there is
  no need to identify the individual class members because everyone would be entitled to the post-
  removal notice, hearing, and assessment. Only individuals who are unable to pay would
  ultimately obtain the benefit afforded under the process required by Counts II-V, but that process
  is nonetheless required and wholly absent now.
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  categorical exclusion of class actions seeking primarily monetary relief ... ensures that the class

  is sufficiently cohesive [such] that the class-action device is properly employed.” Thorn v.

  Jefferson–Pilot Life Ins. Co., 445 F.3d 311, 330 (4th Cir. 2006) (emphasis added); see also Berry

  v. Schulman, 807 F.3d 600, 608 (4th Cir. 2015) (“[B]ecause of the group nature of the harm

  alleged and the broad character of the relief sought, the (b)(2) class is, by its very nature,

  assumed to be a homogenous and cohesive group with few conflicting interests among its

  members.”) (quoting Allison v. Citgo Petroleum Corp., 151 F.3d 402, 413 (5th Cir. 1998)).

          In this Circuit, the “presumption of cohesiveness” breaks down only where the class

  action “is more about individual monetary awards than it is about uniform injunctive or

  declaratory remedies.” Berry, 807 F.3d at 608-09. Indeed, the only cases involving (b)(2)

  classes in which “cohesiveness” has been a concern are medical monitoring cases where “the

  remedy sought must often be individualized based on the exposure level and medical history of

  the class members.”4 Harris v. Rainey, 299 F.R.D. 486, 498 (W.D. Va. 2014) (referencing

  Rhodes v. E.I. du Pont de Nemours & Co., 253 F.R.D. 365, 371–72 (S.D.W. Va. 2008) (medical



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    Medical monitoring cases, such as those cited by Defendant, are far afield from the civil rights
  cases and constitutional challenges for which the Rule 23(b)(2) procedure was specifically
  designed. See Newberg on Class Actions §§ 4:26, 4:45 (5th ed.). In the context of medical
  monitoring (in which plaintiffs allegedly exposed to toxic substances, but not yet manifesting
  any physical ailments, seek medical monitoring for early disease detection), courts face
  numerous, individual factual questions (e.g., resolving who was exposed to the substance, and
  for what period of time, and for whom monitoring is the appropriate remedy) that affect who
  should be granted injunctive relief, and thus often make class treatment inappropriate. See id. at
  § 4:45; see also Barnes v. Am. Tobacco Co., 161 F.3d 127, 146 (3d Cir. 1998). But cohesiveness
  in the context of a constitutional challenge to a uniform state law, as here, cannot be challenged
  because the remedy sought, if granted, would necessarily apply to all. Newberg on Class
  Actions § 4:34 (5th ed.) (“The glue that makes a class action efficient in the (b)(2) context is that
  the class members’ claims are so inherently intertwined that injunctive relief as to any would be
  injunctive relief as to all. For example, if a prisoner in a prison conditions lawsuit secures a
  ruling that a prison policy violates the Constitution, the court-ordered injunctive relief will
  necessarily apply to all other prisoners.” Cohesiveness is but the “test to ensure that such glue in
  fact exists[.]”)
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  monitoring case) and Coleman v. Union Carbide Corp., No. CIV.A. 2:11–0366, 2013 WL

  5461855, at *19–21 (S.D.W. Va. Sept. 30, 2013) (same)).5 Here, Plaintiffs and class members

  seek class-wide declaratory and injunctive relief from an unconstitutional system of license

  suspensions. Although the process afforded in a constitutional system for license suspensions

  may ultimately require individual determinations, that does not change the uniform nature of the

  relief in this case—the removal of unconstitutional driver’s license suspensions and the

  prevention of future constitutional violations—or the fact that Plaintiffs and class members are

  not seeking monetary damages.

         D.     Class Certification Is Appropriate Because Plaintiffs Are Seeking Uniform
                and Not Individualized Relief.

         As set forth above, no individualized relief is sought by the classes. If the classes were

  certified, no individual hearings would be required and no manageability issues would arise.

  Instead, the relief sought would apply uniformly to the class members. Although the Plaintiffs’

  testimony and affidavits demonstrate the very real harms inflicted by Defendant’s constitutional

  violations, the claims and the requested relief turn on the Defendant’s policies and practices. “It

  is clear that here, whatever factual nuances may exist among putative class members, the legal

  relief sought is the same: a declaratory judgment striking down Virginia’s law[] [suspending

  driver’s licenses under Section 46.2-395] and a permanent injunction barring [its] enforcement.”

  Harris, 299 F.R.D. at 490. This “relief rests on identical questions of law and would clearly

  resolve the claims ‘classwide’ and in ‘one stroke.’” Id.




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   Notably, both Rhodes and Coleman predate the Fourth Circuit’s decision in Berry and relied
  upon non-controlling Third Circuit caselaw.

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             Although some class members could have established an inability to pay the assessed

   fines and costs at the time of suspension while others presumably could not, had a process been

   in place to take into consideration ability to pay, all class members were deprived of the

   opportunity to have their economic status taken into account.6 Stated differently, Defendant

   conflates two distinct things – whether individualized hearings are needed to define membership

   in a cognizable class for the purposes of class certification in this case (they are not), and the fact

   that a due process regime of individualized hearings could rescue Section 46.2-395 (were it to be

   amended as such) from being unconstitutional. Here, all that matters for class certification

   purposes is that the relief sought applies to all class members. It does.

             E.     Defendant’s Direct Action Defense Ignores that Defendant’s Conduct Need
                    Not Be Damaging To Each Class Member under Rule 23(b)(2).

             While Rule 23(b)(2) requires that “the party opposing the class has acted or refused to act

   on grounds that apply generally to the class,” “it is well-settled that the defendant’s conduct

   described in the complaint need not be directed or damaging to every member of the class.”

   Newberg on Class Actions § 4:28 (5th ed.) (emphasis added); see also Harris, 299 F.R.D. at

   494–95 (quoting Wright & Miller § 1775) (in the 23(b)(2) context, “the party opposing the class

   does not have to act directly against each member of the class”).

             Instead, “[t]he key is whether the party’s actions would affect all persons similarly

   situated so that those acts apply generally to the whole class.” Id. (emphasis added); see also

   Fed. R. Civ. P. 23, Advisory Committee Note to 1966 Amendment of Subdivision (b)(2)

   (“Action or inaction is directed to a class within the meaning of [Rule 23(b)(2)] even if it has

   taken effect or is threatened only as to one or a few members of the class, provided it is based on

   grounds which have general application to the class.”) (emphasis added). As such, “the plaintiffs


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       See discussion at fn. 3, supra.
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   do not need to establish that [the] defendants’ conduct is damaging or offensive to every member

   of the proposed class.” Harris, 299 F.R.D. at 497 (quoting Kernan v. Holiday Universal, Inc.,

   No. JH90–971, 1990 WL 289505, at *5 (D. Md. Aug. 14, 1990)); id. (“[a]ll members of a class

   ‘need not be aggrieved by or desire to challenge the defendants’ conduct in order for some of

   them to seek relief under Rule 23(b)(2).”) (quoting Wright & Miller § 1775 (internal alterations

   omitted)).

          This principle is well recognized in this district. In Scott v. Clarke, a class of female

   prisoners sought a ruling that the facility was providing inadequate medical care in violation of

   the Eighth Amendment. 61 F. Supp. 3d 569, 573 (W.D. Va. 2014). Although it was unknown

   which class members would seek medical care or had suffered harm as a result of the inadequate

   medical care provided, this Court certified the class. Id. at 587, 591. The Court reasoned that

   the “key factual issues at the heart of Plaintiffs’ claims of constitutionally deficient medical care

   do not turn on an individual plaintiff’s particular personal health concerns, but rather on [the

   defendants’] alleged systemic failure to provide a level of medical care to all of its residents that

   complies with constitutional norms.” Id. at 585-86. This is because “every inmate” at the

   facility “is necessarily subject to the same medical, mental health, and dental care policies and

   practices of the [defendant]” and every one of them is susceptible to the risk of harm if the

   defendant’s policies provide constitutionally deficient care. Id. at 587 (quoting Parsons v. Ryan,

   754 F.3d 657, 678-79 (9th Cir. 2014)).

          Similarly, in Harris, the plaintiffs sought to certify a class of all same-sex couples in

   Virginia in seeking to declare unconstitutional and enjoin the defendants’ denial of marriage

   applications for same-sex couples. 299 F.R.D. at 489. The defendants argued that not all same-

   sex couples necessarily wanted to get married or have their marriage recognized. Id. at 490, 494.


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   The court explained that the subjective intent of the class members did not matter because “[a]ny

   of the putative subclass members would receive the same treatment from [defendants] (the denial

   of their marriage application) for the same reason (being a same-sex couple).” Harris, 299

   F.R.D. at 495. Thus, the relief would apply to the class as a whole regardless of who took

   advantage of it.

          Here, the Defendant’s conduct – the failure to provide notice and an ability to pay hearing

   prior to suspending the driver’s license – “appl[ies] generally to the class.” Fed. R. Civ. P.

   23(b)(2). As in Scott, the key factual issues do not turn on Plaintiffs’ particular personal

   finances, but rather on the Commissioner’s and the statute’s across-the-board failure to provide

   due process notice, a hearing, and consideration of the class member’s ability to pay. Just as the

   courts cannot predict each and every person who will need medical treatment or seek to get

   married, they cannot predict each and every person who will be unable to pay their court fines

   and costs. An individual’s economic status can fluctuate – a person who is well-off one day,

   may not be the next. That is why the relief mandated by Bearden and related cases (and sought

   by Plaintiffs here) sets out the process whereby, prior to revocation for failure to pay, the

   revoking party “must inquire into the reasons for the failure to pay.” 461 U.S. at 672.

          Harris and Scott demonstrate that the critical inquiry in addressing certification under

   Rule 23(b)(2) is whether the requested relief would apply to the class as a whole. Fed. R. Civ. P.

   23(b)(2) (certification is appropriate when “the party opposing the class has acted or refused to

   act on grounds that apply generally to the class, so that final injunctive relief or corresponding

   declaratory relief is appropriate respecting the class as a whole.”); see also Cole v. City of

   Memphis, 839 F.3d 530, 542 (6th Cir. 2016) (“the focus in a (b)(2) class is more heavily placed

   on the nature of the remedy sought”); Shelton v. Bledsoe, 775 F.3d 554, 561 (3d Cir. 2015)


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   (same). Here, the requested relief applies to each and every member of the respective classes.

   That alone satisfies the requirements of 23(b)(2).

          F.     Defendant’s Ascertainability Defense Fails Because the Class Members Are
                 Defined in a Manner that Makes Them Easily Identifiable.

          While the Fourth Circuit has not explicitly addressed the issue7, Defendant overstates the

   “ascertainability” requirement for a class action as, where applied at all, it is greatly relaxed in

   the context of Rule 23(b)(2) class actions. See, e.g., Cole v. City of Memphis, 839 F.3d 530, 542

   (6th Cir. 2016), cert. denied, 137 S. Ct. 2220 (2017) (“The precise identity of each class member

   need not be ascertained here, particularly given that notice is not required as it would be in a

   (b)(3) class.”); Shelton v. Bledsoe, 775 F.3d 554, 561 (3d Cir. 2015) (“Because the focus in a

   (b)(2) class is more heavily placed on the nature of the remedy sought, and because a remedy

   obtained by one member will naturally affect the others, the identities of individual class

   members are less critical in a (b)(2) action than in a (b)(3) action.”); Shook v. El Paso Cnty., 386

   F.3d 963, 972 (10th Cir. 2004) (“[M]any courts have found Rule 23(b)(2) well suited for cases



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     Defendant cites EQT Prod. Co. v. Adair, 764 F.3d 347 (4th Cir. 2014) for the proposition that
   the Fourth Circuit holds that “ascertainability” is a requirement for Rule 23(b)(2) classes. Resp.
   in Opp’n. to Pls.’ Mot. for Class Cert. 20, ECF No. 128. EQT, however, was a hybrid Rule
   23(b)(2) and (b)(3) class. It did not give the Court occasion to consider whether ascertainability
   need be proved when only a 23(b)(2) class is sought to be certified, or when the requested relief
   is a declaration that a law is unconstitutional and a uniform injunction against its enforcement.
   Requiring that a class be ascertainable where individual relief is sought (as in EQT) is
   categorically different than requiring that ascertainability be proven here. Indeed, district courts
   in the Fourth Circuit agree that EQT does not resolve the issue of whether ascertainability must
   be proven in a purely 23(b)(2) context. Buffkin v. Hooks, No. 1:18CV502, 2018 WL 6271855, at
   *5 (M.D.N.C. Nov. 30, 2018) (noting that while the Fourth Circuit has not specifically addressed
   the issue, most courts hold that the requirement of ascertainability is applied less stringently in
   Rule 23(b)(2) cases). Further, where ascertainability is discussed in the Rule 23(b)(2) context,
   courts acknowledge that class members “need not be identified at the time of certification” and
   that “the key” of the ascertainability inquiry is the “indivisible nature of the injunctive or
   declaratory remedy warranted” such that “each individual class member would [not] be entitled
   to a different injunction or declaratory judgment against the defendant.” Id. (internal citations
   omitted). The proposed classes here clearly meet this more lenient ascertainability standard.
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   where the composition of a class is not readily ascertainable; for instance, in a case where the

   plaintiffs attempt to bring suit on behalf of a shifting prison population.”); Yaffe v. Powers, 454

   F.2d 1362, 1366 (1st Cir. 1972) (“[N]otice to the members of a (b)(2) class is not required and

   the actual membership of the class need not therefore be precisely delimited.”).

          As the Sixth Circuit recently explained,

          [i]n the Rule 23(b)(3) context, ascertainability aids the inherent efficiencies of the
          class device by ensuring administrative feasibility, and as we read our own
          precedent and the precedent of other courts, ascertainability is a requirement tied
          almost exclusively to the practical need to notify absent class members and to allow
          those members a chance to opt-out and avoid the potential collateral estoppel
          effects of a final judgment… But “the requirement that the class be defined in a
          manner that allows ready identification of class members serves several important
          objectives that either do not exist or are not compelling in (b)(2) classes.” [] Since
          notice is not required for a (b)(2) class, the practical efficiencies that come with
          knowing the precise membership of the class are nonexistent.

    Cole, 839 F.3d at 541 (internal citations omitted) (emphasis added).

          The advisory committee’s notes for Rule 23(b)(2) further demonstrate that

    ascertainability is not required in the (b)(2) context because the defendant’s action need not

    have an “effect” on all members within the class, such as civil-rights actions where members of

    the class “are incapable of specific enumeration.” See Fed. R. Civ. P. 23 advisory committee’s

    note to 1966 amendment; see also Cole, 839 F.3d at 542. Indeed, if courts were to apply a strict

    ascertainability requirement in the 23(b)(2) context, certification of the very civil-rights cases

    that the rule was designed to foster would be virtually impossible. Newberg on Class Actions §

    4:26 (5th ed.) (“The rule makers … designed Rule 23(b)(2) specifically for cases stemming

    from the civil rights movement. These cases, like the iconic Brown v. Board of Education,

    tended to seek broad declaratory or injunctive relief for a numerous and often unascertainable

    or amorphous class of persons.”) (emphasis added). Because the proposed classes seek

    certification under Rule 23(b)(2), the ascertainability requirement does not apply.

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            The irony in this case is that Defendant is now trying to exploit its own constitutional

   violation – the failure to conduct a pre-deprivation assessment of the class members’ ability to

   pay – as a basis to prevent class-wide relief. This cannot be permitted. Class actions are

   equitable devices and relief should be afforded where justice so requires. Ortiz v. Fibreboard

   Corp., 527 U.S. 815, 833 (1999) (discussing history of class action mechanism).

            The class definitions are clear – all persons whose driver’s licenses are currently

   suspended or will be suspended due to their failure to pay court debt, pursuant to Section 46.2-

   395 of the Code of Virginia. They are readily identifiable – the DMV can locate from its own

   records the individuals whose licenses are suspended pursuant to Section 46.2-395. Thus,

   ascertainability is not at issue here.

            G.     Defendant’s Typicality and Commonality Defenses Fail Because the
                   Defendant’s Course of Conduct is the Same.

            Where, as here, the claim arises from the same event, practice, or course of conduct and

   is based on the same legal theory, the commonality and typicality requirements are met. 8

   Manuel v. Wells Fargo Bank, Nat’l Ass’n, No. 3:14CV238, 2015 WL 4994549, at *12 (E.D. Va.

   Aug. 19, 2015) (finding commonality where “[a]ll class members will have been subjected to

   this practice”); Thomas v. FTS USA, LLC, 312 F.R.D. 407, 419 (E.D. Va. 2016) (finding

   typicality where named plaintiff “was subjected to the same procedures as all putative class

   members and it is those procedures that are challenged”). Here, because Plaintiffs and every

   class member were all subjected to the same lack of process, Plaintiffs meet the typicality and

   commonality requirements. Every one of the members of the proposed classes is equally subject




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       Defendant does not challenge the other Rule 23(a) requirements.
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   to Section 46.2-395 at the time they default on payments owed to the courts. Furthermore, the

   requested relief sought for each class, respectively, would benefit all members of that class.

          Defendant tries to stake out a “factual question at the center of each of the as-applied

   claims – whether each class member is in fact ‘unable to pay,’” but this misses the mark. As

   noted, Section 46.2-395 provides no process whatsoever—no notice, no opportunity to be heard,

   and no consideration of inability to pay. Whether a person is “unable to pay” would be central to

   any kind of due process regime that might resuscitate Section 46.2-395 from unconstitutionality,

   but no such determination need be made here to define cognizable classes. Bearden and related

   cases make clear that constitutional court debt recoupment systems must give process to

   everyone. Virginia, by contrast, gives process to no one. Thus, anyone suspended in the absence

   of such process has a claim for relief, and the commonality and typicality requirements are met.

   III.   CONCLUSION

          WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that the Court

   enter an order certifying the Suspended and Future Suspended Classes and granting such further

   relief that the Court deems just and proper.

   Date: January 31, 2019

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                                    CERTIFICATE OF SERVICE
            I hereby certify that on January 31, 2019, I electronically filed the foregoing instrument

   with the Clerk of Court using the CM/ECF System, which will send a notification of such filing to

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